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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

REQUEST FOR MODIFYING THE CONDITIONS OR TERM OF

SUPERVISION WITH THE CONSENT OF THE OFFENDER /
(Prebation Form - Waiver of Hearing is Attached) 4 wu
Offender Name: John I, Waltman Case No.: 2:16CR00054 -001 4

Name of Sentencing Judicial Officer: The Honorable Judge Gene E.K. Pratter

Date of Original Sentence: June 10, 2019

Original Offense: Conspiracy to commit money laundering (Count One); Hobbs Act extortion under color of
official right and aiding and abetting (Counts 9, 13, 15 & 19); and Hobbs Act extortion under color of official
right (Count 14)

Original Sentence: Custody of the U.S. Bureau of Prisons for a term of 78 months to be followed by a two-year
term of supervised release. A $600.00 special assessment was also imposed and due immediately.

Special Conditions: 1) While the defendant is on supervised release, he shall serve 75 hours of community
service per year. The community service shall be performed at a nonprofit organization to be determined by the
defendant in consuHation with the Probation Officer; 2) The defendant shall provide the U.S. Probation Office
with full disclosure of his financial records to include yearly income tax returns upon the request of the U.S.
Probation Office. The defendant shall cooperate with the probation officer in the investigation of his financial
dealings and shall provide truthful monthly statements of his income; 3) The defendant is prohibited from
incurring any new credit charges or opening additional lines of credit without the approval of the probation
officer, unless the defendant is in compliance with any payment schedule for any fine or restitution obligation.
The defendant shall not encumber or liquidate interest in any assets unless it is in direct service of the fine or
restitution obligation or otherwise has the express approval of the Court: 4) Fine in the amount of $5000.00 to
be paid at the rate of not less than $100.00 per month to commence 60 days upon release from incarceration,

Type of Supervision: Supervised Release Date Supervision Commenced: January 31, 2024

U.S. Attorney's Response: | No Objections Kl = Objections [1] No Response 0

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RE: John I. Waltman
Case No.: 2:16CR000501-001

PETITIONING THE COURT

On February 14, 2024, Mr. Waltman was arrested and charged with driving under the influence and other
related vehicle charges. According to the arresting officer, Mr. Waltman was observed at 1:42 am driving
erratically and was pulled over. After admitting to the officer, he had been drinking, he was detained, and a
blood alcohol test was performed. The blood alcohol test came back .19% (twice the legal limit). There was also
an open container of beer in the vehicle and Mr. Waltman was driving alone. He was placed under arrest and
was released on his own recognizance on the same day. He has a preliminary hearing scheduled for March 21,
2024, at 3:30 pm before District Justice Marriott located in Richboro, Bucks County.

At this time, we are not requesting any violative action. We will closely monitor this arrest and any other related
charges. In light of the recent arrest, we are requesting an alcohol testing and treatment condition. This

condition will permit the U.S. Probation Office to monitor Mr. Waltman by means of alcohol testing to ensure
that he remains alcoho! free. It will also permit the U.S. Probation Office to refer him to alcohol treatment. We if
are very concerned that within fourteen days of release from custody he incurred a new arrest for DUI. fe

Mr. Waltman reported to the U.S. Probation Office on Wednesday, February 21, 2024, and was presented with
the modification. This officer explained that he could discuss the proposed modification with his attorney, and
he declined. It was also explained that this was not a sanction being imposed.

On February 26, 2024, the undersigned officer discussed the proposed modification with Assistant U.S.
Attorney Richard Barrett, who voiced no objection.

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RE: John I Waltman
Case No.: 2:16CR000501-001

To modify the conditions of supervision as follows:

The defendant shall refrain from the use of alcohol and shall submit to testing to ensure compliance. It is further
ordered that the defendant shall participate in treatment and abide by the rules of any such program until
satisfactorily discharged.

Respectfully submitted,

Jana G. Law
Chief U.S. Probation Officer
N icole E Digitally signed by

Nicole E, Seader
Date: 2624.02.27

Seader 14-52-04 -05'00!'
Nicole E. Seader
U.S. Probation Officer

Approved By:

Kyle M. Watt pete 2020227 150303-0s00
Kyle M. Waits

Supervising U.S. Probation Officer

NES

C ORDER OF THE COURT

Con dered apeal ordered this /. gt day

off hw taggoand ordered filed
and made part of the records in the above

_K. Pratéer
.S. District Court Judge

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UNITED STATES PROBATION OFFICE
EASTERN DISTRICT OF PENNSYLVANIA

NOTICE OF REQUEST FOR MODIFICATION OF SUPERVISION CONDITIONS

TO: John I. Waltman CASE NO.: 2:16CR000509-001
(Name)

This is to notify you that the U.S. Probation Office intends to make a formal
request to the Court that the conditions of supervision be modified as follows:

The defendant shall refrain from the use of alcohol and shall submit to testing to
ensure compliance. It is further ordered that the defendant shall participate in
treatment and abide by the rules of any such program until satisfactorily
discharged.

The reason for this modification and addendum to the conditions of supervision
is:

On February 14, 2024, Mr. Waltman was arrested and charged with driving under
the influence and other motor vehicle citations, including driving with an open
container of alcohol (beer) in the vehicle at the time of arrest.

You are advised that you have the right to a hearing before the Court on the
modification of the conditions of supervision, and that you have the right to be
represented by counsel at such hearing. You also have the right to waive (give up) such a
hearing. You are hereby asked to acknowledge receipt of the "Notice" by signing the
applicable portion on the reverse side of this form and returning the form to your
Probation Officer. If you desire a hearing, you should sign the ACKNOWLEDGMENT
AND REQUEST FOR HEARING portion of the form. If you wish to waive (give up) a
hearing, you should sign the ACKNOWLEDGMENT AND WAIVER portion of the
form. If you request a hearing, you will be notified by this office of the time and place
thereof in due course.

Respectfully submitted,

Jana G, Law
Chief U.S. Probation Officer

Nicole Seader
U.S. Probation Officer
Date: February 21, 2024

NES

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ACKNOWLEDGMENT AND REQUEST FOR HEARING

I, John I, Waltman, hereby acknowledge receipt of the Notice of Request
for Modification of the Conditions of Supervision, and request a hearing thereon with my
reasons stated below:

Signed:

(Date)

ACKNOWLEDGMENT AND WAIVER OF HEARING

I, John I, Waltman, hereby acknowledge receipt of the Notice of Request
for Modification of the Conditions of Supervision. I have read the Notice and understand
that I have the right to a hearing before the Court on that request and to the assistance of
counsel at the hearing. However, | hereby waive (give up) my right to a hearing and agree
to the proposed modifications of conditions of supervision. I also certify that no promises
have been made to me in order fo induce me to give up my right to a hearing.

Signed: bd h/ Atm 2 La [ou
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WITNESS:

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